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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

MEGAN NELSON,                                   )
                                                )    Case No.
                        Plaintiff,              )
        v.                                      )
                                                )    Magistrate Judge
DET. BRYAN LUTZOU, P.O. D.V.                    )
COOPER #17206, P.O. C.R. BROWN                  )
#2235 Individually and THE CITY OF              )    JURY DEMAND
CHICAGO, a municipal corporation,               )
                                                )
                        Defendants.             )

                                              COMPLAINT

        NOW COMES the Plaintiff, MEGAN NELSON, by and through her attorneys Gregory E.

Kulis & Associates, Ltd., complaining against the Defendants, DET. BRYAN LUTZOU, P.O. D.V.

COOPER #17206, P.O. C.R. BROWN #2235 and the CITY OF CHICAGO, a municipal

corporation, individually as follows:


                                         COUNT I - FALSE ARREST

        1.      This action is brought pursuant to the Laws of the United States Constitution,

specifically, 42 U.S.C. §1983 and §1988, and the laws of the State of Illinois, to redress

deprivations of the Civil Rights of the Plaintiff, MEGAN NELSON, accomplished by acts and/or

omissions of the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER #17206, P.O. C.R.

BROWN #2235, committed under color of law.

        2.      Jurisdiction is based on Title 28 U.S.C. §1343 and §1331 and supplemental

jurisdiction of the State of Illinois.

        3.      The Plaintiff, MEGAN NELSON, was at all relevant times, a United States citizen

and a resident of the State of Illinois.
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         4.    At all relevant times, the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER

#17206, P.O. C.R. BROWN #2235 were duly appointed Chicago Police Officers acting within the

scope of their employment and under color of law.

         5.    On or about May 10, 2016, the Plaintiff, MEGAN NELSON, was notified by one of

the Defendants to come to the Police Station.

         6.    The Plaintiff was not committing a crime or breaking any laws.

         7.    The Plaintiff had not committed a crime.

         8.    The Plaintiff complied with the orders of the police.

         9.    The Defendants then took MEGAN NELSON into custody.

         10.   The Defendants then arrested the Plaintiff for aggravated criminal sexual abuse.

         11.   The charges against the Plaintiff were false.

         12.   The Defendants ignored the fact that DCFS had done an investigation and found no

facts to support the allegations.

         13.   The Defendants ignored numerous facts which negated any allegations of a crime.

         14.   At all relevant times, the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER

#17206, P.O. C.R. BROWN #2235 were acting pursuant to the customs and policies of the Chicago

Police Department.

         15.   The actions of the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER

#17206, P.O. C.R. BROWN #2235 were intentional, willful and with malice.

         16.   Said actions of the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER

#17206, P.O. C.R. BROWN #2235 violated the Plaintiff’s Fourth and Fourteenth Amendment

Rights of the United States Constitution and were in violation of said rights protected by 42 U.S.C.

§1983.




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        17.     As a direct and proximate consequence of said conduct of the Defendants, DET.

BRYAN LUTZOU, P.O. D.V. COOPER #17206, P.O. C.R. BROWN #2235, the Plaintiff, MEGAN

NELSON, suffered violations of her constitutional rights, emotional anxiety, fear, humiliation,

embarrassment, damage to her professional reputation, monetary loss, pain and suffering and future

pain and suffering.

        WHEREFORE, the Plaintiff, MEGAN NELSON, prays for judgment in her favor and

against the Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER #17206, P.O. C.R. BROWN

#2235, for a reasonable amount in compensatory damages, punitive damages, plus attorneys’ fees

and costs.

                          COUNT II – CITY OF CHICAGO/INDEMNIFICATION

        1-17    The Plaintiff, MEGAN NELSON, hereby re-alleges and incorporates her allegations

of paragraphs 1-17 of Count I as her respective allegations of paragraph 1-17 of Count II as though

fully set forth herein.

        18.     Illinois Law provides that public entities are directed to pay any tort judgment for

compensatory damages for which employees are liable within the scope of their employment

activities.

        19.     Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER #17206, P.O. C.R.

BROWN #2235 are or were employees of the City of Chicago Police Department, Chicago, Illinois

and acted within the scope of their employment in committing this misconduct described herein.

        20.     If Defendants, DET. BRYAN LUTZOU, P.O. D.V. COOPER #17206, P.O. C.R.

BROWN #2235 are found liable for any of the acts alleged above, the Defendant CITY OF

CHICAGO would be liable to pay the Plaintiff, MEGAN NELSON, any judgment obtained against

said Defendants.




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       WHEREFORE, should the individual Defendants, DET. BRYAN LUTZOU, P.O. D.V.

COOPER #17206, P.O. C.R. BROWN #2235, be found liable for any of the acts alleged above, the

Defendant, CITY OF CHICAGO, would be liable to pay the Plaintiff, MEGAN NELSON any

judgment obtained against the Defendant.



                                       JURY DEMAND

       The Plaintiffs, MEGAN NELSON hereby requests a trial by jury.



                                                  Respectfully submitted

                                                  /s/ Gregory E. Kulis



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